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                                                                               Christopher W. Pendleton
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                                                                            Cleveland, Ohio 44114-2378
                                                                              Direct Dial: 216.363.6219
                                                                                     Fax: 216.363.4588
                                                                           cpendleton@beneschlaw.com




                                                 October 4, 2021



VIA ECF

Hon. Gregory H. Woods
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

       Re:     Infosys Limited v. Whittle Management, Inc., 1:21-cv-04372 (GHW)

Dear Judge Woods:

       This letter is submitted by Plaintiff Infosys Limited (“Infosys”) as directed by the Court in
its Order dated September 27, 2021 (Dkt. No. 15). Since this matter was filed, the parties have
had discussions regarding resolving the dispute between them, however those discussions appear
to have stalled. Absent a resolution in the next 21 days, Infosys intends to proceed in this matter.


                                                 Respectfully submitted,


                                                 /s/ Christopher W. Pendleton
                                                 Christopher W. Pendleton
                                                 BENESCH, FRIEDLANDER, COPLAN
                                                 & ARONOFF LLP
                                                 200 Public Square
                                                 Cleveland, OH 44114
                                                 Telephone: (216) 363-6219
                                                 cpendleton@beneschlaw.com
                                                 Attorney for Plaintiff Infosys Limited



cc: Whittle Management, Inc.
   Corporation Service Company
   251 Little Falls Drive
   Wilmington, DE 19808
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                                  CERTIFICATE OF SERVICE


       I hereby certify and affirm that on October 4, 2021, a true and correct copy of the foregoing

letter to the Court was filed electronically. Notice of this filing will be sent by operation of the

Court’s electronic filing system to all parties indicated on the electronic filing receipt and also sent

by overnight mail to Defendant’s registered agent, as well as by email to the employee of

Defendant with whom Plaintiff has been communicating.




Dated: October 4, 2021
       New York, New York


                                                   Respectfully Submitted,

                                                   /s/ Christopher W. Pendleton
                                                   Christopher W. Pendleton
                                                   BENESCH, FRIEDLANDER, COPLAN
                                                   & ARONOFF LLP
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